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                   11   Tile, Inc. and Life360, Inc.

                   12
                                                         UNITED STATES DISTRICT COURT
                   13
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   14

                   15
                        SHANNON IRELAND-GORDY and                        Case No. 3:23-CV-04119-RFL
                   16   STEPHANIE IRELAND GORDY,
                        individually and on behalf of all others         DECLARATION OF JEFFREY M.
                   17   similarly situated,                              GUTKIN IN SUPPORT OF
                                                                         STIPULATION SETTING BRIEFING
                   18                      Plaintiffs,                   SCHEDULE AND CONTINUING
                                                                         INITIAL CASE MANAGEMENT
                   19          v.                                        CONFERENCE

                   20   TILE, INC., LIFE360, INC., and                   Date Action Filed: 08/14/2023
                        AMAZON.COM, INC.,
                   21
                                           Defendants.
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                            GUTKIN DECL. ISO STIPULATION
                                                                                           SETTING BRIEFING SCHEDULE
                                                                                                  CASE NO. 3:23-CV-04119
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                    1           I, Jeffrey M. Gutkin, declare as follows:

                    2           1.         I am an attorney with the law firm Cooley LLP and am licensed to practice in the

                    3   State of California. I represent Tile, Inc. and Life360, Inc. in the above-captioned matter. I have

                    4   personal knowledge of the following facts and if called to testify, could and would competently

                    5   testify thereto.

                    6           2.         I submit this declaration in accordance with Rule 6-2(a) of the civil Local Rules for

                    7   the United States District Court for the Northern District of California.

                    8           3.         The Court set the Initial Case Management Conference for this case for November

                    9   17, 2023.

                   10           4.         On September 19, 2023, Tile, Inc., Life360, Inc. and Plaintiffs stipulated to extend

                   11   Tile, Inc. and Life360, Inc.’s deadline to respond to Plaintiffs’ complaint (the “Complaint”) to

                   12   November 7, 2023.

                   13           5.         Upon reassignment of the case, the Court reset the Initial Case Management

                   14   Conference for November 16, 2023.

                   15           6.         On October 23, 2023, Tile, Inc., Life360, Inc., Amazon, Inc. and Plaintiffs stipulated

                   16   to continue the Initial Case Management Conference and vacate Defendants’ deadline to respond

                   17   to the Complaint in order to allow the parties to engage in private mediation to explore a mutually-

                   18   agreeable resolution of the claims in the Complaint and the Court granted this stipulation and reset

                   19   the Initial Case Management Conference for March 14, 2024.

                   20           7.         The September 19, 2023 and October 23, 2023 stipulations are the only time

                   21   modification the parties have stipulated to or requested in this case.

                   22           8.         Per the above paragraphs, the parties have made one prior request to continue the

                   23   Initial Case Management Conference, the Court has not denied any request for a time modification,

                   24   and the Court has not stated that no further extensions will be granted.

                   25           9.         Upon further reassignment of the case, the Court reset the Initial Case Management

                   26   Conference to March 13, 2024 (with a case management statement due March 6, 2024).

                   27           10.        The parties participated in mediation on January 25, 2024, but were unable to come

                   28   to a mutually-agreeable resolution.
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                                                                             2                       SETTING BRIEFING SCHEDULE
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                    1               11.    In a case involving similar claims brought by counsel for Plaintiffs, Hughes et. al.,

                    2   v. Apple, Inc., 3:22-cv-07668-VC (“Hughes”), the defendant has filed a motion to dismiss, which

                    3   was briefed and heard, and is awaiting decision by a different department of this Court (the “Hughes

                    4   Order”). Plaintiffs informed me that they believe there is significant efficiency to be gained by

                    5   waiting for the Hughes Order before amending their Complaint in this action, so that such

                    6   amendment can reflect the guidance provided in that order. The Parties agree that the deadline for

                    7   Plaintiffs to amend their Complaint should therefore be set to follow the issuance of the Hughes

                    8   Order.

                    9               12.    Separately, the parties agree that it will save substantial party and Court resources

                   10   to resolve any motion to compel arbitration that Defendants may file (a “Motion to Compel

                   11   Arbitration”) based on the Amended Complaint before briefing any motions to dismiss on other

                   12   grounds, given that a Motion to Compel Arbitration may obviate the need for such other motions

                   13   to dismiss, if granted.

                   14               13.    If granted, the requested relief in the parties’ stipulation would (1) set Plaintiffs’

                   15   deadline to amend their Complaint (the “Amended Complaint”) six weeks from the date of the

                   16   Hughes Order, which deadline is not otherwise currently set; (2) set Defendants’ deadline to file

                   17   either a motion to compel arbitration or a response to the Amended Complaint six weeks from the

                   18   date of the Amended Complaint, which deadline is not otherwise currently set; and (3) set a briefing

                   19   schedule on any motion filed by Defendants with Plaintiffs’ opposition due four weeks from the

                   20   date the motion is due and Defendants’ reply due three weeks from the date the opposition is due,

                   21   which briefing deadlines are not otherwise currently set. The requested relief would also reset the

                   22   Initial Case Management Conference to coincide with any hearing on Defendants’ motion or to be

                   23   otherwise reset to a date convenient for the Court. The Initial Case Management Conference is

                   24   otherwise scheduled for March 13, 2024.

                   25               I declare under penalty of perjury that the foregoing is true and correct. Executed this 27th

                   26   day of February 2024.

                   27
                                                                                           /s/ Jeffrey M. Gutkin
                   28   298616790                                                             Jeffrey M. Gutkin
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ATTORNEYS AT LAW
 SAN FRANCISCO                                                                                      GUTKIN DECL. ISO STIPULATION
                                                                              3                      SETTING BRIEFING SCHEDULE
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